EXHIBIT | FILE Copy

aint fore Civil Case

   

Vewna and Davis Steverson Case No. Bz 20 - Bo I%-eUe j of

(to be filled in by the Clerk's Office)

 

Plaintiffs)
(Write the full name af each plaintiff who ts filing this complaint.
Ifthe names of all the plaintiff: cannot fit in the space aboye,
please write “see attached” in the space and attach an additional
page with the full list of names.)

Jury Trial: (check one) [| Yes [v]No

    

“Defendan ts) ”
OPrite the full name of each defendant who is being sued, if the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list ofnames.)

 

‘PamidiaA. Lawig
Circult Court Clerk’

meee” Nepee” Neppe” Seppe” “Napgee” Nepee” pere” See Smee!” “ieee! Nene Nee” me Nene” “ma

COMPLAINT FOR A CIVIL CASE

L The Parties ta This Complaint

 

 

 

 

 

A. The Plaintiff(s) ‘ ~
Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed,

Name _WkesalSstSreon
Street Address 111 Louise Dr
City and County Dickson, Dickson
State and Zip Code TN, 37055
Telephone Number 615 761 7951
_ E-mail Address aaaceosolutions@gmail.com

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's jab or title (if4nown). Attach additional pages if needed.

Page i of 3

Case 3:19-cv-00140 Document 1-2 Filed 02/12/19 Page 1 of 19 PagelD #: 7
Pro Se i (Rey. 12/16) Complaint for a Civil Case

Deter haat ® O.

Fo | mane

Defendant No. 1

Name

Job or Title (iftriown)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (f'known)

Defendant No, 2

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if kiown)}

Defendant No, 4

Name

Jab or Title (if known)
Street Address

City and County
State and Zip Code

Telephone Number

    
     

E-mail Address (if brown

7g. S3M- “cage
Case 3:19-cv- 00140 Document

Civ
Tye

Walmart

 

 

702 Southwest 8th Streat

 

Bentonville,

 

AK, 72716

 

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(ee) S21 - 0866

 

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Pro Se i (Rey, 12/16) Complaint for a Civil Case

i.

Basis for Jurisdiction

Federa! courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a

diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

[_ }Rederal question Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A.

Hf the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

 

If the Basis for Jurisdiction Is Diversity of Citizenship

 

i, The Plaintiff{s)

a, If the plaintifé is an individual
The plaintiff, (name) Davis Steverson ; 3 is a Citizen of the
State of (name) Tennssee

 

b. If the plaintiff is a corporation

The plaintiff, (ame) Walmart . _ , is incorporated
under the laws of the State of frame) Arkansas __

and has its principal place of business in the State of (name)

Arkansas 7 x

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff)

2, The Defendant(s)

a, If the defendant is an individual

The defendant, (name) __, is acitizen of

the State of (tame) , Or is a citizen of
(foreign nation)

 

Page 3 of 5

Case 3:19-cv-00140 Document 1-2 Filed 02/12/19 Page 3 of 19 PagelD #: 9
Pro Se 1 (Rev. 12/16) Comptaint for a Civil Case

 

b. If the defendant is a corporation
The defendant, fname) Walmart , is incorporated under
the laws of the State of (ame) arkansas , and has its

principal place of business in the State of (name) Arkansas
Or is incorporated under the laws of (foreign nation} '

 

and has its principal place of business in (name)

 

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3, The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

$17.5 million

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct, If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed,
Plaintiff purchased an air conditioning unit from Waimart and it was installed professionally by the plaintiff's own
professionals. The air conditioning unit malfunctioned and and flooded the plaintiffs home, causing mold and
permanent damage to the plaintiffs health.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include

the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

1. Plaintiff would ask restitution for damages incurred to the home in the amount of $750,000.00

2. Plaintiff would ask the court for restitution for damages incurred to their health and permanent well-being in the
amount of $16,750,000.00

Page dof §

Case 3:19-cv-00140 Document 1-2 Filed 02/12/19 Page 4 of 19 PagelID #: 10
Pro Se 1 (Rev, 12/16) Complaint for a Civil Caso

¥. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (L) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule It.

A, For Parties Without an Attorney bars!
Tagree to provide the Clerk’s Office with any changes to my addtéss where case—related papers may be
served, T-understand that my failure to keep a current address on'fflg' withthe Clerk’s Office may result
in the dismissal of my case. ohne

Date of signing: 1204/2018

Signature of Plaintiff
Printed Name of Plaintiff

 

 

B. For Attorneys /

Date of signing: oe MAK. _ _
Signature of Attomey = Gg Represwrter fon _.

Printed Name of Attorney

 

 

Bar Number

 

Name of Law Firm

 

 

 

 

Street Address

State and Zip Code OO - -
Telephone Number (5 _- “YG \ i ws | _
E-mail Address AY Cee S 6 [u\rows.(2} S WAL \ LOM)

 

Page 5 of 5

Case 3:19-cv-00140 Document 1-2 Filed 02/12/19 Page 5 of 19 PagelD #: 11
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Oo FAMILY PRACTICE
int Roiland E. Luplow, M.2,
uw Van F. Milfs, MD.

Jebn CW, Morse, M.D.
Ruberr W. Orgain, M.D,
John R. Salyer, M12,
Demond White, M.D.
‘Tiffany Bryant, PA.
Lori Green, NADL
Kay Murphy, NLP.
Keley Ross, NH.

LLERGYIASTHMAL
SINUS
Jean Alexander, MID,

CARDIOLOGY
David Blazer, M.D,
David Chambery, M.D
Ehah Kasasbch, M.D.

DERMATOLOGY
Ouolores Lucas, M13,

David Rass, M.D.
Kerry Ross, M0,
Anna Sectuka. M0,

NEUROLOGY
Vera Nuftnagle. MD.

ORTHOPAEDICS ,

Arnnk Adams, M.D
}. Stacy Dinkins. DO,
Jan M. Gareny, MLD,

von .
VYeok Mani, M.D
PE HEA E RI¢ $
Jeffrey 5. Gordaa, M.D,
Mary K fteNeal, M.D,
Kerry Riss, M1,
Maria Lastavka, PLN,I*
Kelley Shar. ANP.

mun . 7

Muhanad Alsoub, M.D,

toustivy Harta, M.D,
Cldrent H Wiser, M.D.

127 Cresivicw Park Mrive
Dickson, IN 97055
Phone: 615-446-5121
werw dicksonmd.cam

 

DMA

Dickson Medical Associates

April 18, 2018

RE: Verma D, Steverson
DOB: 05/15/1932
MRN: 6917

To Whom It May Concern:

Ms, Verna Steverson is an 85-year-old patient of mine whom | saw in the
office on April 12, 2018. At that time, she was having bronchospasms.
She has had mold exposure from mold that has developed in her house
since a recent flood. These pulmonary problems with bronchospasm are
typical of mold exposure in people who are sensitive. Ms. Steverson’s
allergy pancl that came back today was positive for allergy to fungi and
molds. [tis my opinion that i is not safe or reasonable for Ms. Steverson
to be in the home with the mold stilt in place. Her abnormal breathing
function is exacerbated when she is in the house. This gives her coughing,
wheezing, and difficulty breathing, If] can be of further assistance, please
notify me.

Sincerely,

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BiusPy

Pamela A. Lawis /
Circuit Court Clark we

Rolland E, Luplow {1, M1.

RELIt

 

Name: Steverson, Verna

DOB: 05/75/1932

Case 3:19-cv-00140 Document 1-2 Filed 02/12/19 Page 6 of 19 PagelID #: 12
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— Pamola A. Lewis
Clreuit Court Clerk
Gmail - letter of explanation https://mail. google, com/mail/u/0?ik=f3b905¢787& view=pt&search=a,

me Cs mail AAA Solutions <aaaceosojutions@gmail.com>

letter of explanation

2 messages

AAA Solutions <aaaceosolutions@gmail.com> Fri, Dac 28, 2018 at 3:08 PM
To: AAA Solutions <aaaceosclutions@gmail.com>

Due to the damage done to our health and home caused by the GE air conditioner unit malfunctioning, therefore
completely destroying our home, and perminatly and continuosly causing irreversible and ongoing damage to
our familles health. We hereby file suit against all responsible parties.

We have continuously tried to work with these responsible companies, asking them to repair the damage caused
by this faulty air conditioner unit. These companies fed us to believe that they were going to help us in repairing
the darnages done. The companies responsible have made no effort in the repair of cur home. Therefore, the
damage being unrepaired for so long caused my family to be deadly ill.

This damage if taken care of when we contacted the companies responsible would not have rasulted in the
permanent bodily injuries to our family and our home.

Sincerely,
‘—Benre and Davis Stevenson

VERT By

AAA Solutions <aaaceosolutions@gmail.com> Fri, Dec 28, 2018 at 3:11 PM
To: AAA Solutions <aaaceosolutions@gmail.com>

rived Decomneee O\ 20 B_
wenennenas Forwarded message --------- OV 3 Pu

From: AAA Solutions <aaaceosolutions@gmail.com> -
eo: Eri . Pamela A. Lawis fl
Date: Fri, Dec 28, 2018 at 3:08 PM Ghoeut Gourt Cler (iD.

Subject: letter of explanation
To: AAA Solutions <aaaceosolutions@gmail.com>

Due to the damage done to our health and home caused by the GE air conditioner unit malfunctioning, therefore
completely destroying our home, and perminatly and continuosly causing irreversible and ongoing damage to
our families health. We hereby file suit against all responsible parties.

We have continuously tried to work with these responsible companies, asking them to repair the damage caused
by this faulty air conditioner unit. These companies led us to believe that they were going to help us in repairing
the damages done. The companies responsible have made no effort in the repair of our home. Therefore, the
damage being unrepaired for so long caused my family to be deadly il.

This damage ‘f taken care of when we contacted the companies responsible would not have resulted in the
permanent bodily injuries to our family and our home.

On April 2018 we received confirmation from our doctors that this toxic mold were causing severe health
problems and we were ordered to leave our homes Immediately.

Sincerely,
Donna and Davis Stevenson

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MY] Gmail AAA Solutions <aaaceoso!utions@gmail.com>

 

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Pm] Gmail AAA Solutions <aaaceosolutions@gmail.com>

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1 message

AAA Solutions <aaaceosolutions@gmail.com> Fri, Dec 28, 20718 at 2:52 PM
To: AAA Solutions <aaaceosolutions@gmail.com>

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Pamela A. Lewis
Cliroukt Court Clerk

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Case 3:19-cv-00140 Document 1-2 Filed 02/12/19 Page 12 of 19 PagelD #: 18
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Circuit Court Cter

A «PA

Case 3:19-cv-00140 Document 1-2 Filed 02/12/19 Page 14 of 19 PagelID #: 20
Division of Business Services
Department of State

State of Tennessee
312 Rosa L. Parks AVE, 6th FL
Nashville, TN 37243-1102

 

Tre Hargett
Secretary of State

 

OZARK ELECTRONICS 01/17/2019
501 NORTH LINCOLN ST,
SILOAM SPRINGS, AK 72761

RE: VERNA AND DAVIS STEVENSON

VS: WALMART, EF AL

Notice of Service

The enclosed process, notice or demand is hereby officially served upon you by the
Tennessee Secretary of State pursuant to Tennessee law. Please refer to the process, notice or
demand for details concerning the iegal matter. If you have any questions, please contact the
clerk of the court that issued the process, notice or demand,

The process, notice or demand may have a court date and time that you must appear to
defend yourself or the number of days from the date of service by which you are required to file
an answer, Failure to appear in court at the time specified or failure to file an answer in the given
time could result in a default judgement being rendered against you for relief sought in the
lawsuit.

The Secretary of State’s office cannot give you legal advice. If you need legal advice,
please consult a private attorney.

Tre du
Secretary of State

Enclosures: Original Documents

 

DOCUMENT INFORMATION

SOS Summons # : 06848087

Case #: 22CC-2018-CV-124
Certified #: 70181830000045464933

$5-4214 (Rav. 8/15) RDA 7003

Case 3:19-cv-00140 Document 1-2 Filed 02/12/19 Page 15 of 19 PageID #: 21
 

 

 

CIVIL SUMMONS VD un D2) FCS - fey

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“iia | STATE OF TENNESSEE Case Number

 

 

 

 

 

Served On: IAA vA : Fat i L ait = sietememees

Borah lactate: Se Sites Sere (470) Sa4- OOS

You are hereby summoned to defend a civil action filed egainst you in County, Tennessee. Your defense
must be made within thirty (30} days from the date this summons is served upon you, You are directed to file your defense with the clerk of the court
and send a copy to the plaintiff's attorney at the address listed below. If you fail to defend this uctien by the required date, judgment by default may

be rendered against you for the relief sought in the complaint,

but Pionber Al, Goes Yann
th, Clerk 4Beprty Gt
Attorney for Plaintift: = _WYQ_ Oh. _

 

 

 

 

 

 

NOTICE OF PERSONAL PROPERTY EXEMPTION

TO THE DEFENDANT(S); Tennessee Inw provides a ten chousand dollar ($10,000) personal property exemption as well as a homestead exemption
from execution or selzure to satiafy a judgment. The amount of the homestead exemption depends upon your age and the other factors which are
listed in TCA §26-2-301. Ift judgment should be entered against you in this action and you wish to claim property as exempt, you must file a
written list, under oath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any time and may be changed by
you thereafter as necessary; however, unless it is filed before, the judgment becomes final, ii will not be offective as to any execution or garnishment
issued prior to the filing of the list, Certain items are automatically exempt by faw and do not need to be fisted; these include items of:necessary
wearing apparcl (clothing) for your self and your family and trunks or other receptacles necessary io contain such apparel, family portraits, the’ family
Bible, and schoo! books, Should any of these items be seized you would have the right to recover tiem. If you do not understand your cxeroption
right or how to execute it, you may wish to seek the counsel of a lawyer, Please state file number on fist.

 

 

 

 

 

 

 

 

 

 

 

Mail list to 1. Clerk, ___ County
CERTIBICATION (JF APPLICABLE)
L _o Clerk of _. _ County do certify this to be a true and correct copy of the original summons
issued in this case,
Date: —
Clerk / Deputy Clerk —
OFFICER'S RETURN: Please execute this summons and make your return within ninety (90) days of issuance a3 provided by law.
io mS “ ;
I certify that I have served this summons together with the complaint as follows: ~ ; “5 "
a —_ a
Date: ~ By: moots )
Please Print: Officer, Title 5 a Sy
eo 1
Agency Address Sipnature es os E
RETURN ON SERVICE OF SUMMONS BY MAIL: I hereby certify and return that on i‘ LE ‘Sent postage

prepaid, by registered return receipt mail or certified return receipt mail, a certified copy of the summons and f copy of. the complaint

in the above styled case, to the defendant . On [received the retarh receipt,
which had been signed by on . The retum receipt is attached:to this otfginal -

summons to be filed by the Court Clerk, a

 

 

 

 

 

Date:
Notary Public / Deputy Clerk (Comm. Expires )
Signature of Plaintiff . Plaintiff's Attorney (or Person Authorized to Serve Process)
(Attach return receipt on back) _
ADA: Ifyou need assistance or accanmodations because afa disability, please call we ADA Coordinatar, at

 

Rev, 8/05/10

Case 3:19-cv-00140 Document 1-2 Filed 02/12/19 Page 16 of 19 PageID #: 22
 

Court

County PAUPER’S OATH IN LIEU Case Number
OF APPEAL BOND

 

 

 

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Vern and Bevis Oteversery, Uyoecne, CML, Cincingati
Ge Aap E Agpores®, been tn

Aya

Pawo S Of, Stew CR Sao

} ‘eu, Da. eZ. eA 2 Pr__, do solemnly swear that I am a resident of
the State of Tennessee, and that owing to my poverty, I ani not able to bear the expense of an appeal from the
judgr nt of the Court in the above styled case to the LAC L Lr Court of

wal KS County, at _OAa. w/a Le. _ Tennessee, which has this
day been taken and granted, and that I am justly entitled to the relief sought, tothe best of my belief.

 

 

 

 

Sworn to and subscribed before me, this day_ “cal | Staay of _ ( Sec e on il, 29\% .

rico eee Ol Ls)
BAS :

Pamela A. Lawis
Creat Court Clerk id B.

Legal Authority: TCA §20-12-127

Case 3:19-cv-00140 Document 1-2 Filed 02/12/19 Page 17 of 19 PagelID #: 23
 

 

 

 

 

 

 

 

 

    

Court ae .
————~,, County UNIFORM. CIVIL ~ Case Number
_ ennessee wr
AFFIDAVIT OF INDIGENCY |
page | of 2 oe lea Fo} %cv jo
VS,
yo, having been duly sworn according to law, make oath that because of my poverty, I am
unable to bear the expenses of this case and that I am justly entitled to the relief sought to the best of my belief. The following facts
support my poverty. ; e Ps r

1. Full Name:
3. Telephone Numberda £5 ees 5

5. Names and Ages ofall Bopstacnts: a 16”
Ca th neon Se or Relationship: Dm on
Relationship: _
Relationship:
oe Relationship: . :
6. Tam employed by: “pa See Dee. § US FOr cohil, Pye
My employer's address 1s; — :
My employer’s phone number is: * : ww

Verasema, address: Z2L_ L120 tS Mri Sa v1 Pie BES
4, Date of Birth 3S” 2 sf > eR = Fa bm ef

ee TR OU “>

 

 

 

 

 

 

7. My Present income, afler federal income and social security taxes, are deducted, is: $
8. Ireceive or expect to receive money from the following sources:

 

AFDC § & per month beginning _
SSI Ye 7‘? per month beginning
Retirement $e LP AY per month beginning _
isabili 3 ewe, per ionth beginning
Unemployment 3 wad per month beginning :
Worker's Compensation $ 37 , per month beginning _.
Other § 22 ayes per month beginning
9, My expenses are: ae
Rent/Pouse Payment $ ps per month Medical/Dental $ BY per month
Groceries $ #7 permonth Telephone $ 47S per month
Electricity $ fe cae per month School Supplies $ per month
Water B Sf oD per month Clothing bo per month
Gas § 278 per month Child Care or $ —— per month

we

Transportation SAB ao per month Court fhe Child Support
Other Ron ; SPR bent
10. Assets: a 4 Ak. bYO S ce
Automobile Seeger (PMV) CA — Apna ce enhel. ( h

Checking/Savings Account § Y eg ene ue Kes

 

 

House (FMV) Clie ¥:

Other $ —e aie Mg \s/
Li. My debts are: “VONICA Oey by

Amount Owed To Who

Lasse Howse _ _—

 

 

a ad va oe
SER Ts Cet :

T hereby declare under the penalty of perjury that the foregoing answers are true, correct, and complete at that La Ne financially Shon
unable to pay the costs of this action, ‘) .
a

  

as f 2h Ek by Ct et
PLAINTIPE
ORDER ALLOWING FILING ON PAUPER’'S OATH

it appears based upon the Affidavit of Indigency filed in this cause and after due inquiry made that the Plaintiff is an indigent
person and iy qualified to file case upon a pauper’s oath,

Case 3:19-cv-00140 Document1-2 Filed 02/12/19 Page 18 of 19 PagelD #: 24
 

 

 

 

 

 

 

 

 

 

—eoany UNIFORM CIVIL Case Number
—_ AFFIDAVIT OF INDIGENCY
page 20f2 AXC.30/F-Cv— dof
It is so ordered this the day of 200
mm —

DETERMINATION OF NONINDIGENCY

it appearing based upon the Affidavit of Indigency filed in this cause and after due inquiry made that the Plaintiff is not an
indigent person because

 

IT IS ORDERED AND AJUDGED that the Plaintiff does not qualify for filing this case on a pauper’s oath.
This the day of , 20

 

JUDGE

 

NOTICE: If the judge determines that based upon your affidavit you are not eligible to proceed under a pauper’s oath, you have the
right to a hearing before the judge or, in those cases that can be appealed to Circuit Court, a hearing before the Circuit Court judge,

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